                           No. 25-1348

          In the United States Court of Appeals
                  for the First Circuit
    NEW HAMPSHIRE INDONESIAN COMMUNITY SUPPORT;
      LEAGUE OF UNITED LATIN AMERICAN CITIZENS;
              MAKE THE ROAD NEW YORK,
                                            Plaintiffs-Appellees,
                                v.
   DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, IN THEIR
 OFFICIAL CAPACITY; U.S. DEPARTMENT OF HOMELAND SECURITY;
 KRISTI NOEM, IN THEIR OFFICIAL CAPACITY AS SECRETARY OF THE U.S.
DEPARTMENT OF HOMELAND SECURITY; U.S. DEPARTMENT OF STATE;
 MARCO RUBIO, IN THEIR OFFICIAL CAPACITY AS SECRETARY OF THE U.S.
   DEPARTMENT OF STATE; U.S. DEPARTMENT OF AGRICULTURE;
BROOKE L. ROLLINS, IN THEIR OFFICIAL CAPACITY AS SECRETARY OF THE
 U.S. DEPARTMENT OF AGRICULTURE; CENTERS FOR MEDICARE AND
 MEDICAID SERVICES; MEHMET OZ, IN THEIR OFFICIAL CAPACITY AS
ADMINISTRATOR OF THE CENTERS FOR MEDICARE AND MEDICAID SERVICES,
                                         Defendants-Appellants.


          On appeal from the United States District Court
                for the District of New Hampshire


  BRIEF OF ORIGINALIST SCHOLARS AS AMICI CURIAE IN
       SUPPORT OF APPELLEES AND AFFIRMANCE
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                        INTEREST OF AMICI CURIAE1

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Birthright Citizenship of Unlawful Immigrants’ Children: 1850s-1860s Anti-

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1
 All parties consented to the timely filing of this brief. No counsel for any party
authored this brief in whole or part, and no person besides amici curiae and their
counsel contributed money intended to fund the brief’s preparation or submission.


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                          SUMMARY OF ARGUMENT

      The Government’s proposition that the citizenship of someone born in the

United States turns on the “allegiance” of the child’s parents at the time of birth,

which requires a parent to both be domiciled in the United States and express

allegiance in some additional way (see Gov’t Br. 29), is contrary to the original

public meaning of the Fourteenth Amendment.

      First, the common law in England before the Founding, early American

caselaw and commentary, the materials surrounding the adoption of the Civil

Rights Act of 1866, and the record of the drafting of the Fourteenth Amendment

refute the Government’s historical evidence. All credible sources affirmed the

general rule that birth within a jurisdiction makes one a citizen of that jurisdiction,

regardless of parental citizenship status.

      Second, this evidence of the original public meaning of the

Fourteenth Amendment disproves several of the links in the Government’s chain of

reasoning. The Government claims that the children of illegal aliens cannot be

citizens when born in the United States because “illegal alien” as a category post-

dates the Fourteenth Amendment’s ratification. This assertion is historically

inaccurate. In the two decades before the ratification of the Fourteenth

Amendment, federal and state laws created categories of unlawful immigrants,

targeting Asian immigrants and Chinese nationals in particular. Yet the



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congressional debates indicate an original understanding that the “subject to the

jurisdiction” text would grant citizenship to the children of Chinese immigrants.

      Similarly, the Government relies on post-ratification commentary that the

Supreme Court already rejected. With narrow exceptions not relevant here—for the

children of foreign diplomats (and their staff), foreign heads of state, and invading

military forces—children born in territory governed by the United States are born

citizens no matter the legal status of their parents.

                                    ARGUMENT

I.    The Original Public Meaning of the Fourteenth Amendment
      Guarantees Citizenship to All People Born in and Governed by the
      United States.

      The Citizenship Clause guarantees citizenship to all persons born in and

subject to the jurisdiction of the United States. This guarantee of birthright

citizenship “must be interpreted in the light of the common law, the principles and

history of which were familiarly known to the framers of the Constitution.” United

States v. Wong Kim Ark, 169 U.S. 649, 655 (1898). As Judge Ho summarized in his

account of the Fourteenth Amendment’s Citizenship Clause, the Framers made

clear that the Clause’s language conveys “the longstanding English common law

doctrine of jus soli, or citizenship by place of birth.” James C. Ho, Defining

“American”: Birthright Citizenship and the Original Understanding of the 14th

Amendment, 9 Green Bag 367, 369 (2006). Even scholars advancing a contrary



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view, chief among them Peter Schuck, admit the accepted rule: “Regardless of the

parents’ legal status, a child born on American soil becomes an American citizen at

the moment of birth under the rule of jus soli (law of the soil) . . . which dates back

to the sixteenth-century English common law”. Peter H. Schuck, Immigration, in

Understanding America: The Anatomy of An Exceptional Nation 341, 358-59

(Peter H. Schuck & James Q. Wilson, eds. 2008).

      The Citizenship Clause uses language familiar to the ratifying public, with

settled ordinary meanings. See Noah Webster, An American Dictionary of the

English Language 732 (Chauncy A. Goodrich & Noah Porter eds., Springfield G.

& C. Merriam 1865) (defining “jurisdiction” as the “[p]ower of governing or

legislating”, “the power or right of exercising authority”, the “limit within which

power may be exercised”, or “extent of power or authority”); see also Michael D.

Ramsey, Originalism and Birthright Citizenship, 109 Geo. L.J. 405, 440 (2020)

(stating that it “does not appear that there were competing definitions of ‘subject to

the jurisdiction’ in the pre-Amendment period”). But the Framers did not rely on

dictionaries in explaining what this text meant. They cited treatises and cases,

praising some and criticizing others. They expounded concepts that are traceable to

the earliest days of the common law. The legal community and the public

following the debates would have understood the reference to “jurisdiction” to




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mean subject to governance—and as a result, to mean that children of noncitizens

who are born in and governed by the United States are citizens.

      Each of (a) the English common law, (b) early American jurisprudence,

(c) materials surrounding the Civil Rights Act of 1866, and (d) evidence from the

drafting and ratification of the Fourteenth Amendment confirms that all people

born in and governed by the United States are U.S. citizens.

      A.     The English Common Law Followed This Rule.

      Start with Lord Coke, who was “widely recognized by the American

colonists as the greatest authority of his time on the laws of England”. Payton v.

New York, 445 U.S. 573, 593-94 & n.36 (1980) (cleaned up) (collecting surveys).

In the foundational Calvin’s Case, Lord Coke, then Chief Justice of the Common

Pleas, spoke of a temporary allegiance arising from a foreigner’s fleeting presence

in the realm which would make that person’s child a natural-born subject. See

Calvin’s Case, 77 Eng. Rep. 377, 379, 384 (K.B. 1608). The opinion discussed the

hypothetical of a Frenchman who came to England “in amity with the King” but

then joined with Englishmen in treason; he would be subject to trial in England for

the crime. Id. That’s because “he owed to the King local obedience, that is, so long

as he was within the King’s protection; which local obedience being but

momentary and uncertain, is yet strong enough to make a natural subject, for if he

hath issue here, that issue is (g) a natural born subject”. Id. (emphases added).



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This proposition had an even older vintage as “settled law in the time of Littleton,

who died in 1482.” Lynch v. Clarke, 1 Sand. Ch. 583, 1844 N.Y. Misc. LEXIS 1, at

*11 (N.Y. 1844). On the eve of the Founding, Blackstone stated the same rule:

“The children of aliens, born here in England, are, generally speaking, natural-born

subjects, and entitled to all the privileges of such.” 1 William Blackstone,

Commentaries *354, *361-62 (1765).

      Coke’s opinion identifies one exception to this rule: children born to enemy

invaders in hostile occupation of the sovereign’s territory are not citizens. See

Calvin’s Case, 77 Eng. Rep. at 399. Coke separately recognized that ambassadors

and their families were governed by the law of nations when residing outside their

home countries. See 4 Edward Coke, Institutes *153 (1797). As a result, although

birthright citizenship was “the rule of the common law, without any regard or

reference to the political condition or allegiance of” the child’s parents, there was

an “exception [for] the children of ambassadors, who are in theory born within the

allegiance of the foreign power they represent.” 2 James Kent, Commentaries 38

n.a (6th ed. 1848).

      B.     Early American Courts Followed This Rule.

      Early American commentators and courts agreed that children of foreigners

born in the United States were citizens. In the first session of Congress,

James Madison called it “an established maxim that birth is a criterion of



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allegiance”, which “derives its force sometimes from place, and sometimes from

parentage; but in general, place is the most certain criterion”, as it is in the

United States. Ramsey, 109 Geo. L.J. at 414 (quoting M. St. Clair Clarke & David

A. Hall, Cases of Contested Elections in Congress, from the Year 1789 to 1834,

Inclusive 33 (1834)). Treatises of American law also applied the common-law rule.

See id. (citing the following sources); see, e.g., 1 Zephaniah Swift, A System of the

Laws of the State of Connecticut 163, 167 (1795) (“The children of aliens, born in

this state, are considered as natural born subjects, and have the same rights with the

rest of the citizens.”); William Rawle, A View of the Constitution of the United

States of America 86 (2d ed. 1829) (“[E]very person born within the United States

. . . whether the parents are citizens or aliens, is a natural born citizen in the sense

of the Constitution”.); Kent, supra, at 38 n.a.

      Other antebellum and pre-ratification decisions were of a piece:

            “The doctrine of the common law is, that every man born within its
             jurisdiction is a subject of the sovereign of the country where he is
             born”. Kilham v. Ward, 2 Mass. 236, 264-65 (1806) (seriatim op. of
             Sewall, J.);

            “Whatever distinctions may have existed in the Roman law between
             citizens and free inhabitants, they are unknown to our institutions.
             Before our Revolution all free persons born within the dominions of
             the king of Great Britain, whatever their colour or complexion, were
             native born British subjects—those born out of his allegiance were
             aliens. . . . [Thus,] all free persons born within the State are born
             citizens of the State.” State v. Manuel, 20 N.C. 144, 24-25 (1838);




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           There is “no doubt, but that by the law of the United States, every
            person born within the dominions and allegiance of the United States,
            whatever were the situation of his parents, is a natural born
            citizen. . . . [T]he general understanding of the legal profession, and
            the universal impression of the public mind . . . is that birth in this
            country does of itself constitute citizenship. . . . No one asks [a voter]
            whether his parents were citizens or were foreigners. It is enough that
            he was born here, whatever were the status of his parents. . . .The
            universality of the public sentiment in this instance . . . . confirms the
            position that the adoption of the Federal Constitution wrought no
            change in [the common law] principle.” Lynch, 1844 N.Y. Misc.
            LEXIS at *55-57 (1844) (emphases in original);

            “And as no person born within the jurisdiction can avoid this
             allegiance [to the sovereign] . . . . But with th[e] exception [of Indian
             Tribes], every person born within our territorial limits owes this
             allegiance, and is constituted a citizen, as an inevitable consequence
             of his birth”. Op. of the Justices of Supreme Judicial Court, 44 Me.
             505, 1857 Me. LEXIS 151, at *123-24 (1857) (op. of Davis, J.);

            “All persons born in the allegiance of the king are natural born
             subjects, and all persons born in the allegiance of the United States are
             natural born citizens. Birth and allegiance go together. Such is the rule
             of the common law, and it is the common law of this country, as
             well as of England. There are two exceptions, and only two, to the
             universality of its application. The children of ambassadors are in
             theory born in the allegiance of the powers the ambassadors represent,
             and slaves, in legal contemplation, are property, and not persons.”
             United States v. Rhodes, 27 F. Cas. 785, 789 (C.C.D. Ky. 1866)
             (Swayne, Circuit Justice).

      To be sure, some early American cases denied birthright citizenship to the

children of slaves (and in some cases, free black Americans) and Native peoples

who were members of sovereign Indian Tribes. See Dred Scott v. Sandford, 60 U.S.

393, 404 (1857); Goodell v. Jackson, 20 Johns. 693, 712, 717 (N.Y. 1823)

(affirming that Indians “are not our subjects . . . born in obedience to us” and


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recognizing the “political existence” of their “nations”). But the Fourteenth

Amendment rejected racially exclusionary citizenship. “Congress enacted the Civil

Rights Act of 1866 to both repudiate Dred Scott and eradicate the Black Codes”,

and “[o]nce incorporated into the Fourteenth Amendment, the Citizenship Clause

forever closed the door on Dred Scott”. United States v. Vaello-Madero, 596 U.S.

159, 174-75 (2022) (Thomas, J., concurring) (cleaned up). And members of Indian

Tribes, as explained below, are citizens of self-governing nations, some of which

occupy land masses the size of States, and all of which possess sovereignty that is

recognized by the Constitution, treaties, and centuries of precedent. See Worcester

v. Georgia, 31 U.S. (6 Pet.) 515, 559 (1832). That is not the case for foreigners

whose children the Government seeks to exclude from citizenship today.

      The Government ignores much of the pre-ratification caselaw, citing

Justice Story’s Commentaries to support a general rule requiring parental domicile

for birthright citizenship. (See Gov’t Br. 22, 24.) That is triply flawed.

      First, Justice Story’s Commentaries—which concern the law of nations, not

the common law (see Pls.’ Br. 26)—admit the general rule and frame his

interpretation in normative, rather than descriptive, terms:




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        Persons, who are born in a country, are generally deemed citizens
        and subjects of that country. A reasonable qualification of this rule
        would seem to be, that it should not apply to the children of parents,
        who were who were in itinere in the country, or abiding there for
        temporary purposes, as for health, or occasional business. It would
        be difficult, however, to assert, that in the present state of public
        law such a qualification is universally established.

Joseph Story, Commentaries on the Conflict of Laws, Foreign and Domestic § 48

(Boston, Hilliard, Gray & Co. 1834) (emphases added). The Government’s

quotation of this passage (at 22) omits the final sentence.

      Second, this distinction makes a world of difference because four years

earlier, Justice Story wrote in dissent in Inglis that “[n]othing is better settled at the

common law than the doctrine that the children even of aliens born in a country,

while the parents are resident there under the protection of the government, and

owing a temporary allegiance thereto, are subjects by birth.” Inglis v. Trs. of

Sailor’s Snug Harbor, 28 U.S. (3 Pet.) 99, 164 (1830) (Story, J., dissenting)

(emphasis added). The Government’s quotation of this passage (at 36) likewise

omits the emphasized language that contradicts its interpretation. But that language

shows that, consistent with Coke’s reasoning, aliens temporarily in the

United States owe a temporary allegiance to the United States sufficient to confer

citizenship on their children born here. This allegiance consisted in an obligation to

follow “the ordinary laws, enforcement power, and judicial orders of U.S.

authorities to the same extent as citizens.” Ramsey, 109 Geo. L.J. at 446.



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      Third, the Supreme Court implicitly, and New York’s Court of Chancery

explicitly, rejected Story’s gloss on the children of transient noncitizens. See The

Schooner Exch. v. McFaddon, 11 U.S. (7 Cranch) 116, 144 (1812) (“When private

individuals of one nation spread themselves through another as business or caprice

may direct . . . it would be obviously inconvenient and dangerous to society, and

would subject the laws to continual infraction, and the government to degradation,

if such individuals or merchants did not owe temporary and local allegiance, and

were not amenable to the jurisdiction of the country.” (emphasis added)); Lynch,

1844 N.Y. Misc. LEXIS 1, at *84 (“The qualifications mentioned by Judge Story

. . . are certainly unknown to the common law in England, and as established in the

United States.”).

      C.     The Civil Rights Act of 1866 Reflects This Rule.

      The Civil Rights Act of 1866 (“1866 Act”) gives more support for birthright

citizenship. It was enacted by a congressional supermajority over

President Johson’s veto and provided that “all persons born in the United States

and not subject to any foreign power, excluding Indians not taxed, are hereby

declared citizens of the United States.” 1866 Act, ch. 31, § 1, 14 Stat. 27.

Supporters of the 1866 Act affirmed that, as Pennsylvania Representative John

Broomall put it, all those “who by reason of [their] being born within the

jurisdiction of a Government owe[] allegiance to that Government” and are



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therefore citizens. Cong. Globe, 39th Cong., 1st Sess. 1262 (1866). No member

endorsed a categorical rule that children born in the United States to foreigners

were not citizens. They did, however, repudiate what they saw as a deviant

exception for black Americans.

      In referring to black Americans, Senator Lyman Trumbull, the principal

drafter of the relevant language, echoed the common law and said that his “own

opinion is that all these persons born in the United States and under its authority,

owing allegiance to the United States, are citizens without any act of Congress.”

Id. 527. Trumbull later explained that he had “already said that in [his] opinion

birth entitles a person to citizenship, that every free-born person in this land is, by

virtue of being born here, a citizen of the United States, and that the” Act was “but

declaratory of what the law now is”. Id. at 600. Trumbull cited the above passage

from State v. Manuel in support of this rule. See id. at 527. Trumbull’s public

statement of the law was clear and unequivocal: “I understand that under the

naturalization laws the children who are born here of parents who have not been

naturalized are citizens.” Id. at 498. Trumbull admitted that this would mean

citizenship at birth for children of Chinese nationals and purported “Gypsies”:

      Mr. COWAN. I will ask whether [Trumbull’s amendment] will not
      have the effect of naturalizing the children of Chinese and Gypsies
      born in this country?

      Mr. TRUMBULL. Undoubtedly.



                                           12
Id. at 498.

      President Andrew Johnson, for his part, understood the effect of the 1866

Act in the same way in explaining his reasons for vetoing it:

      By the first section of the bill all persons born in the United States
      and not subject to any foreign power, excluding Indians not taxed,
      are declared to be citizens of the United States. This provision
      comprehends the Chinese of the Pacific States, Indians subject to
      taxation, the people called gypsies, as well as the entire race
      designated as blacks, people of color. . . . Every individual of these
      races born in the United States is by the bill made a citizen of the
      United States.

Andrew Johnson, Veto Message on Civil Rights Legislation (Mar. 27, 1866),

available at: https://bit.ly/4dPdnOa. Congress then overrode the veto. See Barnett

& Bernick, supra, at 124. In response to President Johnson’s veto,

Senator Trumbull cited a fellow Senator for the proposition that “even the infant

child of a foreigner born in this land is a citizen of the United States long before his

father.” Cong. Globe, 39th Cong., 1st Sess. 1757.

      Dispensing with this evidence, the Government makes much out of a single

letter from Senator Trumbull to President Johnson (see Gov’t Br. 19-20), which

apparently was not cited in legal scholarship for another 144 years until a law

student unearthed it. (See Gov Br. 20 n.4 (quoting Mark Shawhan, Comment, The

Significance of Domicile in Lyman Trumbull’s Conception of Citizenship, 119 Yale

L.J. 1351, 1352-53 (2010))); see also Shawhan, supra, at 1353 n.9. In the letter,

Senator Trumbull says that the 1866 Act “declares ‘all persons’ born of parents

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domiciled in the United States, except untaxed Indians, to be citizens of the

United States.” Shawhan, supra, at 1352-53 (quotation omitted). Trumbull,

potentially fearing President Johnson’s veto, may have downplayed the scope of

the statutory language. Of course, whatever Trumbull meant the letter to

communicate, President Johnson’s statement showed that he understood the

1866 Act to broadly confer citizenship on racial minorities and their children born

in the United States.2

      Trumbull spoke of one exception to the general rule that citizenship obtained

upon birth within the United States: “Indians”, affirming the constitutional status of

Native nations and peoples. See Cong. Globe, 39th Cong., 1st Sess. 527, 572,

2893-94; Maggie Blackhawk, Foreword: The Constitution of American

Colonialism, 137 Harv. L. Rev. 1, 10 (2023). As Trumbull explained in the debates

over the Fourteenth Amendment, there were Native peoples physically within U.S.

territory who were not ordinarily subject to U.S. governance. In proposing the

“Indians not taxed” language in the 1866 Act, Trumbull cited Article I, Section 2 of



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  Indeed, Shawhan himself doubted the letter’s relevance for original meaning and
in fact endorsed expansive birthright citizenship in a subsequent full-length article
that the Government ignores. See Mark Shawhan, “By Virtue of Being Born Here”:
Birthright Citizenship and the Civil Rights Act of 1866, 15 Harv. Latino
L. Rev. 201 (2012), available at: https://bit.ly/4mPbmp3; see id. at 219-220 n.123
(explaining that while Trumbull “privately interpreted” the bill more narrowly, that
view “seems not to have been expressed publicly in debate over the Act, nor shared
by other members of Congress”).

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the Constitution, which excludes “Indians not taxed” from the population count for

apportionment of seats in the House of Representatives. Cong. Globe, 39th Cong.,

1st Sess. 527. He explained that this phrase included Tribal citizens with “separate

governments of their own” with whom the United States dealt with “by treaty”. Id.

at 498. And the phrase also included Native people who were not citizens of any

Tribal nation with which the U.S. had treaties but were present in territories that

remained unorganized by the United States. See id. at 525 (referring to Native

peoples “outside of the organized jurisdiction of the United States in the Indian

country”); Ramsey, supra, at 459. Trumbull did allow for the possibility that

individual Indians could renounce their Tribal ties and become U.S. citizens. See

id. at 572 (explaining that Native persons who “are separated from those tribes, and

come within the jurisdiction of the United States so as to be counted . . . are

citizens of the United States.”); id. at 2893 (giving example of Native persons

physically “there and within the jurisdiction of Colorado, and subject to the laws of

Colorado,” who “ought to be citizens”). But he denied that the United States had

any legitimate constitutional power over Native peoples that was not mediated by

Tribal sovereignty. See id. at 2894 (claiming that it would be a “violation of our

treaty obligations, a violation of the faith of this nation, to extend our laws over

these Indian tribes with whom we have made treaties saying we would not do it”).




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      Trumbull gave one other exception to the general rule of birthright

citizenship: “We cannot make a citizen of the child of a foreign minister who is

temporarily residing here.” Id. at 572. His justification for this exception mirrored

the common-law understanding of temporary allegiance from McFaddon: “upon

investigation it was found that a sort of allegiance was due to the country from

persons temporarily resident in it whom we would have no right to make

citizens”—namely, the children of foreign ministers. Id. If the children of those

with temporary allegiance to the United States did not become citizens when born

here, there would be no need for an exception for children of diplomats.

      Even if the Government’s interpretation of Trumbull’s letter and statements

were correct, its case would fare no better. A private letter can’t provide reliable

context about public meaning. Cf. Ramos v. Louisiana, 590 U.S. 83, 98 & n.40

(2020) (rejecting reliance on private correspondence from James Madison). Any

conflict between Senator Trumbull’s floor statements and his letter is another

reason to privilege public meaning over private intentions. See Hon. Antonin

Scalia, Address Before the Attorney General’s Conference on Economic Liberties

(June 14, 1986), in Original Meaning Jurisprudence: A Sourcebook 103 (U.S.

Dep’t of Justice ed., 1987) (admonishing originalists to pursue “[t]he most

plausible meaning of the words of the Constitution to the society that adopted it—

regardless of what the Framers might secretly have intended”). Recall that Senator



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Trumbull represented to Senator Cowan that the children of Chinese nationals and

“Gypsies” would “undoubtedly” be birthright citizens under the 1866 Act.

Legislators assumed that members of these populations did not all intend to

permanently reside in the United States, such that their children would become

citizens without being domiciled here. Compare Cong. Globe, 39th Cong., 1st

Sess. 2891 (statement of Senator Conness, R-Cal.) (“The habits of [Chinese

immigrants], and their religion, appear to demand that they all return to their own

country . . . . Those persons return invariably, while others take their places”.) with

Shawhan, Significance 1353 (explaining that U.S. domicile during the antebellum

period required “the intention of making [this country] one’s permanent

residence[]”).

      Of course, other legislators that debated the 1866 Act stated the rule of

birthright citizenship:

           Senator Morrill: “[E]very man, by his birth, is entitled to citizenship,
            and that upon the general principle that he owes allegiance to the
            country of his birth, and that country owes him protection. That is the
            foundation, as I understand it, of all citizenship . . . .” Cong. Globe,
            39th Cong., 1st Sess. 570;

           Senator Lane: “The freemen are citizens of the United States; not [by]
            the naturalization law, [or] any treaty, but citizens because they are
            born natives to the soil. That makes them citizens.” Id. at 741;

           Representative Thayer: “According to my apprehension, every man
            born in the United States, and not owing allegiance to a foreign
            Power, is a citizen of the United States. It is a rule of universal law,
            adopted and maintained among all nations, that they who are born

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              upon the soil are the citizens of the State. They owe allegiance to the
              State . . . . Such is the law, whether you put it into this bill or not.” Id.
              at 1152;

            Representative Raymond: “I do not see where we get any authority to
             except these native-born Africans from the general rule of law that all
             born upon the soil are subjects or citizens of the Government. That is
             the rule in England, it is the rule in France, it is, and always has been,
             the rule in this country.” Id. at 1266.

They included Representative Wilson, who the Government cites (at 26) as

endorsing an exception for children born “to temporary sojourners or

representatives of foreign Governments.” But like Trumbull, Wilson favorably

cited State v. Manuel (as well as Blackstone) in support of the common-law rule,

“which claims as a subject every person born within the jurisdiction of the Crown”.

Cong. Globe, 39th Cong., 1st Sess. 1117. That principle “applies to this country as

well as to England”, Wilson said. Id. at 1116.

      D.      Evidence from Ratification Supports This Rule.

      After overcoming President Johnson’s veto to enact the 1866 Act, Congress

took up what would become the Fourteenth Amendment the next month. See

Barnett & Bernick, supra, at 137. In introducing the original text—which did not

define citizenship—Senator Jacob Howard of Michigan discussed the Privileges or

Immunities Clause, and in doing so, explained that “a citizen of the United States

is held by the courts to be a person who was born within the limits of the

United States and subject to their laws.” Cong. Globe, 39th Cong., 1st Sess. 2765.


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Summarizing the common law, Howard said that it “recognizes persons born

within the jurisdiction of every country as being subjects or citizens of that country.

Such persons were, therefore, citizens of the United States as were born in the

country”. Id.

      To be sure, Senator Wade proposed that the Privileges or Immunities Clause

apply to “persons born in the United States or naturalized” into citizenship, and the

Government points out that Senator Fessenden asked whether that would apply to

someone “born here of parents from abroad temporarily in this country.” (Gov’t Br.

26 (citing Cong. Globe, 39th Cong., 1st Sess. 2768-69).) But Wade answered that

he knew of one exception: “the case of the children of foreign ministers”, who,

under a legal fiction, are “not supposed to be residing here”. Cong. Globe, 39th

Cong., 1st Sess. 2769. In any event, “rather than dwelling on text left on the cutting

room floor, we are much better served by interpreting the language Congress

retained and the States ratified.” Ramos, 590 U.S. at 98.

      A week later, Howard introduced the Citizenship Clause. Barnett & Bernick,

supra, at 331. Its text and structure closely resembled his initial exposition. We can

infer that Howard thought of “subject to [U.S.] laws” and “subject to the

jurisdiction thereof” interchangeably because, like Trumbull, he described the

Citizenship Clause as “declaratory of . . . the law of the land already”. Cong.

Globe, 39th Cong., 1st Sess. 2890.



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      Howard added that “every . . . class of persons” other than “persons born in

the United States who are foreigners, aliens, who belong to the families of

ambassadors or foreign ministers accredited to the Government of the

United States” would be guaranteed birthright citizenship. Id. Read in context,

Howard was not enumerating exceptions; he was instead referring to a single

exception for the children of foreign officials. There was no exception for the

children of “foreigners” or “aliens” established as “the law of the land already”.

      Congressional discussion again touched upon Native nations and peoples.

Bethany Berger explains that the Senate “voted not to include the ‘Indians not

taxed’ exception in the citizenship clause of the Fourteenth Amendment . . . based

on the belief that although tribal Indians were ‘born in the United States,’ they

were not ‘subject to the jurisdiction thereof’” for the same reasons that Trumbull

offered for excepting them from the 1866 Act’s birthright citizenship guarantees.

Bethany R. Berger, Birthright Citizenship on Trial: Elk v. Wilkins and United

States v. Wong Kim Ark, 37 Cardozo L. Rev. 1185, 1196 (2016). Speaking about

non-Tribal “Indians with whom we have no treaty,” Trumbull agreed that they were

not subject to U.S. jurisdiction either. See Cong. Globe, 39th Cong., 1st Sess. 2892-

93. The citizenship of Native children is today guaranteed by statute. See Indian

Citizenship Act of 1924, ch. 233, 43 Stat. 253 (codified as amended at 8 U.S.C.

§ 1401(b)); Blackhawk, supra, at 2212.



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      Legislators again raised the issue of extending citizenship to the children of

Chinese immigrants and purported “Gypsies.” Senator Cowan returned to the

point, using explicitly racist language. Cong. Globe, 39th Cong., 1st Sess. 2891

(claiming that “Gypsies” “infest society”). Evidently, he understood “subject to the

jurisdiction thereof” to include the children of foreign nationals, just as he had

understood “not subject to any foreign power” to mean that. Senator John Conness

of California confirmed this understanding, stating that the Citizenship Clause did

declare “the children begotten of Chinese parents in California” to be citizens

because “the children of all parentage whatever, born in California, should be

regarded and treated as citizens of the United States”. Id. “No Senator was

recorded disagreeing with Conness’s view of the Clause’s effect, including

Howard, who had proposed the language.” Ramsey, 109 Geo. L.J. at 448. Perhaps

that is why, as Ramsey suggests, California—with its regular enactment of

discriminatory laws against Asian immigrants—did not ratify the

Fourteenth Amendment until 1959. See id. at 448 n.206.

      The Government also selectively quotes (at 20) Senator Reverdy Johnson,

omitting his language refuting the Government’s point: “I know of no better way to

give rise to citizenship than the fact of birth within the territory of the United

States, born of parents who at the time were subject to the authority of the

United States.” Cong. Globe, 39th Cong., 1st Sess. 2893 (emphasis added).



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II.   The Government’s Contrary Contentions Fail.

      A.     Immigration Restrictions Predate Ratification.

      The Government claims that “illegal aliens” as a category “did not yet exist”

at the time of the Fourteenth Amendment’s ratification (at 19), citing the absence

of federal immigration law. The Government’s statement ignores several

antebellum federal immigration laws. A federal statute in 1862, the “Coolie Trade

Prohibition Act,” regulated Chinese immigration by establishing penalties for the

American citizens involved with alleged “coolie labor.” See Kerry Abrams,

Polygamy, Prostitution, and the Federalization of Immigration Law, 105 Colum. L.

Rev. 641, 670 (2005). Although the Act did not by its terms “punish the Chinese

immigrants themselves, it made the legal status of alleged ‘coolies’”—a racist term

for Chinese laborers—ambiguous: “their status was arguably or foreseeably

‘illegal’ or ‘undocumented’”, despite being encouraged to immigrate in practice.

Shugerman, supra, at 3.

      Before 1866, some states and western territories had adopted immigration

restrictions—most notably California starting in the early 1850s. See Shugerman,

supra, at 9-10. Because state citizenship status had been legally relevant for

national citizenship, see generally Dred Scott, 60 U.S. 393, these state restrictions

were relevant during the ratification of the Fourteenth Amendment and the legal

background. In 1858, California adopted its own exclusion act barring persons of



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“the Chinese or Mongolian races” from entering the State, which its Supreme

Court struck down. Lin Sing v. Washburn, 20 Cal. 534, 564 (1862) (statement of

counsel). California’s Revenue Act of 1861 taxed all “foreigners not eligible to

become citizens of the United States” living in “any mining district” in the State.

Ex parte Ah Pong, 19 Cal. 106, 108 (1861). California was even more explicit in

an 1862 law titled, “An Act to protect free white labor against competition with

Chinese coolie labor, and discourage the immigration of the Chinese into the State

of California.” Lin Sing, 20 Cal. at 564. This last law was known as the “Chinese

Police Tax,” requiring anyone from “the Mongolian race” to pay a monthly tax of

$2.50. See Charles J. McClain, Chinese Immigrants in the California Supreme

Court: The Earliest Civil Cases, 19 Cal. L. Hist. 73, 96 (2024). These measures

raised a “reasonable question about whether some Chinese immigrants were

already in—or soon would be placed in—a category of unlawful” status.

Shugerman, supra, at 3.

      Some Americans of the time portrayed Chinese immigrants as “Coolies,” a

“racist slur that referred to indentured servitude and loyalty to foreign masters.” Id.

at 1. If the public had wondered if the text of the Fourteenth Amendment’s

citizenship clause included a “loyalty” test, someone would have asked. “If the

public thought the citizenship clause might not apply to Chinese immigrants who

were plausibly ‘unlawful’”—or merely temporary residents—“someone would



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have asked.” Id. As shown above, members of Congress did discuss the issue. The

historical record of original public meaning confirms a birthright citizenship rule

applicable to the children of unlawful immigrants, regardless of any doubt about

personal loyalty.

      B.     The Government’s Post-Ratification Commentary Lacks
             Credibility.

      The Government cites several late-nineteenth-century commentators—

prominent among them, Alexander Porter Morse—who rejected birthright

citizenship for the children of foreign nationals; some conditioned birthright

citizenship on domicile. (See Gov’t Br. 27.) This does not help the Government, for

several reasons. First, some commentators espousing these views were racist. The

Government incredibly cites Morse, the lawyer defending segregation for the State

of Louisiana in Plessy v. Ferguson, 163 U.S. 537 (1896). See Bernadette Meyler,

The Gestation of Birthright Citizenship, 1868-1898 States’ Rights, the Law of

Nations, and Mutual Consent, 15 Geo. Immigr. L.J. 519, 520 (2001). Second, some

commentators were also hostile to the common law, believing it out of step with

the law of nations. See id. at 544. Third, isolated dicta supporting these views

“contrasted with far more numerous judicial holdings equating ‘jurisdiction’ with

‘sovereign authority.’” Matthew Ing, Birthright Citizenship, Illegal Aliens, and the

Original Meaning of the Citizenship Clause, 45 Akron L. Rev. 719, 764-65 (2012).




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      The Government’s citation to statements from two Secretaries of State (at

28-29) is similarly dubious. Both were cited in Justice Fuller’s dissent in Wong

Kim Ark. See 169 U.S. at 719. They are not the law. The modern State Department,

during the first Trump Administration, recognized that “[a]ll children born in and

subject, at the time of birth, to the jurisdiction of the United States acquire U.S.

citizenship at birth even if their parents were in the United States illegally at the

time of birth.” U.S. Dep’t of State, 8 Foreign Affairs Manual § 301.1-1(d) (2018).

There has been no sea change of ordinary meaning in the past seven years.

      C.     Native-Born Children of Illegal Aliens Are Citizens.

      There are no cogent reasons to believe that the original public meaning of

the Citizenship Clause expresses a rule excluding the children of temporary visitors

or unlawful entrants. Children of both categories are upon maturity governed by

the United States, just like other citizens. They are bound by legislation; they can

be sued in U.S. courts; they can be arrested by U.S. police officers and prosecuted

by U.S. attorneys. They do not occupy any territory which is beyond U.S. control;

they are not governed within U.S. borders by any laws enacted by another

sovereign which—as Jacob Howard said of Native nations—“intervenes and ousts

what would otherwise be perhaps a right of jurisdiction of the United States.”

Cong. Globe, 39th. Cong., 1st Sess. 2895; see also Ho, supra, at 372 (“[T]here is

no doubt that foreign countries enjoy no such sovereign status within U.S. borders.



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And there is likewise no doubt that U.S. law applies to their nationals who enter

U.S. territory.”).

       But the Government’s position has a more fundamental problem.

Abolitionists and Republicans insisted that people from whom the United States

demanded obedience were entitled to citizenship. Thus did New York abolitionist

William Yates in 1838 claim that citizenship “reaches the man of one complexion

as much as that of another” for one “is not a citizen to obey, and an alien to

demand protection.” William Yates, Rights of Colored Men to Suffrage, Citizenship

and Trial by Jury 37 (Philadelphia: Merrihew & Gunn 1838). If among the core

evils against which the Citizenship Clause was directed was allegiance-without-

citizenship, then not only does the “letter” (text) of the Citizenship Clause support

birthright citizenship, but so too does its original purpose, or “spirit.”

       Birthright citizenship was and is the law of the land. It was recognized by

antebellum courts applying principles of the common law dating to the 1400s,

which the drafters of the 1866 Act and the Fourteenth Amendment were familiar

with, and which the public at large understood. After more than five centuries

recognizing the birthright of every person born within the sovereign’s jurisdiction

to be a citizen of that state, the Government discovers a different rule for the first

time in a private letter and in the same recycled citations that the Supreme Court

already rejected in Wong Kim Ark. This Court should reject them, too.



                                           26
                                 CONCLUSION

      For all these reasons, the Court should affirm.

June 6, 2025                             Respectfully submitted,

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